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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No. 16-20461-CR-MARTINEZ(s)

   UNITED STATES OF AMERICA

   v.

   MILDREY GONZALEZ and
   MILKA ALFARO,

                     Defendants.
   _______________________________/

        THE UNITED STATES OF AMERICA’S SENTENCING MEMORANDUM AND
           OBJECTIONS TO THE PRESENTENCE INVESTIGATION REPORTS

          The United States of America respectfully submits this memorandum for the Court’s

   consideration in connection with the sentencing of Mildrey Gonzalez (“Gonzalez” or “Defendant

   Gonzalez”) and Milka Alfaro (“Alfaro” or “Defendant Alfaro,” and together with Gonzalez,

   “Defendants”). For the reasons below, the Court should adopt the findings of the United States

   Probation Office (“Probation”) with regard to the calculation of the applicable United States

   Sentencing Guidelines (“U.S.S.G.”) ranges, except for with respect to calculation of Defendants’

   respective criminal history points (D.E. 226, 227). Specifically, the United States objects to

   inclusion of criminal history points based upon Defendants’ convictions in case no. 16-CR-20507-

   KMM because, in the government’s view, the conduct underlying those convictions falls within

   the scope of relevant conduct, and thus is part of the instant offense for purposes of the U.S.

   Sentencing Guidelines. See U.S.S.G. § 4A1.2 cmt. n.1. Further, the United States recommends

   that the Court impose a sentence at the low end of the applicable U.S.S.G. range for each defendant

   (Gonzalez: 135-168 months; Alfaro: 151-188 months), which will provide punishment for their
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   involvement in the instant offense that is sufficient, but not greater than necessary, to accomplish

   the purposes of sentencing set forth in 18 U.S.C. § 3553(a).

       I.      Procedural History and Offense Conduct

            The counts of conviction in this case stem from Gonzalez and Alfaro’s roles as the

   masterminds of a fraud scheme that cost Medicare in excess of $22 million. As Gonzalez and

   Alfaro have each conceded in their signed factual proffers (D.E. 201, 204), from in or around 2011

   through June of 2016, they co-owned and operated seven home health agencies, each of which

   submitted false and fraudulent claims to Medicare.1 Defendants paid off nominee owners to mask

   their ownership interests; paid recruiters to bring in, and bribe, beneficiaries; paid medical

   professionals kickbacks in return for home health prescriptions; and paid others to launder millions

   of dollars. Throughout the scheme, Gonzalez and Alfaro utilized shell corporations to funnel fraud

   proceeds back to themselves. They also used the proceeds to fuel a lifestyle of luxury, including

   purchases of sports cars and payments for luxury properties. After law enforcement agents

   executed a search warrant at one of Defendants’ home health agencies in February 2016, they

   swiftly liquidated assets, converted checks from numerous accounts to cash, and transferred their

   substantial real estate holdings into nominees’ names. Then, Alfaro and Gonzalez fled the country.

            In April 2016, Gonzalez briefly re-entered the country, unsuccessfully attempted to

   withdraw approximately $1.7 million—the proceeds from the sale of one of their properties—from

   frozen bank accounts, and then left the United States again, undetected. On June 4, 2016,

   Defendants arrived at Miami International Airport from the Dominican Republic with more than




   1
     The agencies listed in Defendants’ factual proffers are: MA; Golden; Metro Dade; Nova;
   Finetech; Homestead; and Inar. The indictment names six of these seven agencies; Inar is solely
   named in their factual bases (see D.E. 3, 201, 204).


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   $2.4 million in bulk cash concealed in diaper bags, pouches and luggage—none of which was

   reported on customs forms, which require disclosure of currency over $10,000 USD. As a result

   of these acts, on June 6, 2016, Defendants were separately charged with bulk cash smuggling and

   related federal offenses. See 16-20507-CR-MOORE. Thereafter, they were released on bond.

               On June 22, 2016, Gonzalez and Alfaro were arrested in connection with the charges in

   this case, which arose from their central roles in orchestrating the health care fraud scheme. After

   initially being released on bond in this case (as well as in the bulk cash case), as they have each

   now acknowledged in their signed factual proffers, Defendants engaged in witness tampering,

   failed to accurately disclose their assets, and suborned perjury (D.E. 201, 2014).2

               In the following months, Defendants each pleaded guilty to bulk cash smuggling in case

   16-CR-20507-MOORE on November 14, 2016, and were each sentenced to 37 months’

   imprisonment for that offense on February 10, 2017 (D.E. 235:PSR ¶ 75; D.E. 234:PSR ¶ 76).

               Thereafter, on March 2, 2017, Defendants entered guilty pleas in the instant case (D.E.

   201, 202, 203, 204).

         II.       The Applicable Guidelines Range – Alfaro

               Alfaro pleaded guilty to Count 1 of the Superseding Indictment, which charged her with

   conspiring to commit health care fraud and wire fraud, in violation of 18 U.S.C. § 1349 (D.E. 203,

   204). The PSR concludes that, pursuant to U.S.S.G. § 2B1.1(a)(1), Alfaro has a base offense level

   of seven; the loss amount is more than $9,500,000 but less than $25,000,000, resulting in an

   increase of 20 levels, pursuant to § 2B1.1(b)(1)(K-L); Alfaro was convicted of a federal health

   care offense involving a government health care program that resulted in a loss of more than

   $20,000,000, resulting in an increase of four levels, pursuant to § 2B1.1(b)(7)(A), (B)(iii); Alfaro



   2
       Judge Garber consequently revoked Defendants’ bond on August 2, 2016.
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   engaged in obstruction of justice, warranting a two-level enhancement, pursuant to § 3C1.1; and

   Alfaro was an organizer or leader of the scheme, warranting a four-level increase under § 3B1.1(a).

   In addition, the PSR includes a three-level decrease based on acceptance of responsibility, resulting

   in a total offense level of 34. (D.E. 235:PSR ¶¶ 63-73.)

              With respect to criminal history, the PSR recommended, solely based upon Alfaro’s

   conviction in case 16-CR-20507-MOORE, that Alfaro receive three criminal history points,

   resulting in a criminal history category of II (D.E. 235:PSR ¶¶ 75-76).

       III.      The Applicable Guidelines Range – Gonzalez

              Gonzalez pleaded guilty to Counts 1(a) and 2 of the Superseding Indictment, which

   charged her with conspiring to commit health care fraud, in violation of 18 U.S.C. § 1349, and

   health care fraud, in violation of 18 U.S.C. § 1347 (D.E. 201, 202).3 The PSR concludes that,

   pursuant to U.S.S.G. § 2B1.1(a)(2), Gonzalez has a base offense level of six; the loss amount is

   more than $9,500,000 but less than $25,000,000, resulting in an increase of 20 levels, pursuant to

   § 2B1.1(b)(1)(K-L); Gonzalez was convicted of a federal health care offense involving a

   government health care program that resulted in a loss of more than $20,000,000, resulting in an

   increase of four levels, pursuant to § 2B1.1(b)(7)(A), (B)(iii); Gonzalez engaged in obstruction of

   justice, warranting a two-level enhancement, pursuant to § 3C1.1; and Gonzalez, like Alfaro, was

   an organizer or leader of the scheme, warranting a four-level increase under § 3B1.1(a). In

   addition, the PSR includes a three-level decrease based on acceptance of responsibility, resulting

   in a total offense level of 33. (D.E. 234:PSR ¶¶ 61-74.)




   3
     Gonzalez, unlike Alfaro, did not plead guilty to the wire fraud object of Count 1 of the
   Superseding Indictment.


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            With respect to criminal history, the PSR recommended, based upon Gonzalez’s conviction

   in case 16-CR-20507-MOORE, that she receive three criminal history points, resulting in a

   criminal history category of II (D.E. 234:PSR ¶¶ 76-77).4

                                             ARGUMENT

       I.        As They Fall Within the Scope of Relevant Conduct, Defendants’ Bulk Cash
                 Smuggling Convictions Should Not Result In Any Criminal History Points.

            The government respectfully objects to the inclusion of criminal history points for

   Gonzalez and Alfaro stemming from their respective convictions for bulk cash smuggling in case

   16-CR-20507-MOORE (see D.E. 234:PSR ¶¶ 76-77; D.E. 235:PSR ¶¶ 75-76). Rather, the

   government submits that criminal history category I, not II, applies to Defendants based on the

   facts here.

            Ordinarily, a sentencing judge should add three points to a defendant’s criminal history

   category for each “prior sentence” of imprisonment exceeding one year and one month. U.S.S.G.

   § 4A1.1(a). However, U.S.S.G. § 4A1.2 defines “prior sentence” as “any sentence previously

   imposed upon adjudication of guilt . . . for conduct not part of the instant offense.” U.S.S.G. §

   4A1.2(a)(1) (emphasis added). The Guidelines commentary further clarifies that “[c]onduct that

   is part of the instant offense means conduct that is relevant conduct to the instant offense under

   the provisions of § 1B1.3 (Relevant Conduct).” U.S.S.G. § 4A1.2 cmt. n.1. Section 1B1.13, in

   turn, provides that relevant conduct includes:

            (A) all acts and omissions committed, aided, abetted, counseled, commanded,
            induced, procured, or willfully caused by the defendant; and




   4
     Gonzalez’s prior criminal conduct also includes state-level arrests in 1990 for grand larceny, and
   in 2001 for insurance fraud relating to staged car accidents; neither case appears to have resulted
   in conviction (PSR indicates nolle prosequi), however (D.E. 234:PSR ¶¶ 78-79).
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            (B) in the case of a jointly undertaken criminal activity (a criminal plan, scheme,
            endeavor, or enterprise undertaken by the defendant in concert with others, whether
            or not charged as a conspiracy), all acts and omissions of others that were –

                       (i) within the scope of the jointly undertaken criminal activity;
                       (ii) in furtherance of that criminal activity; and
                       (iii) reasonably foreseeable in connection with that criminal activity;

            that occurred during the commission of the offense of conviction, in preparation for
            that offense, or in the course of attempting to avoid detection or responsibility for
            that offense.

   See U.S.S.G. 1B1.3(a)(1)(A)-(B).

            Here, the PSR attributes three criminal history points to each defendant as a result of their

   bulk cash smuggling offense convictions (case 16-CR-20507-MOORE). These points should not

   apply, however, because the bulk cash smuggling offense meets the Guidelines’ definition of

   relevant conduct, and thus is “part of the instant offense,” per U.S.S.G. § 4A1.2(a)(1). Notably,

   the offenses of conviction shared common accomplices (Alfaro, Gonzalez and Luis Alonzo) and

   a common purpose; they were part of an ongoing series of offenses largely intended to illicitly

   obtain profits from Medicare while evading detection by law enforcement. See 1B1.3 cmt. n.5(A)-

   (B). Moreover, the time interval between the offenses is overlapping, and the cash which

   Defendants smuggled into the United States included proceeds from the fraud offenses of

   conviction in this case. See id. Accordingly, the criminal history points attributed to Gonzalez

   and Alfaro in the PSR should be deducted, yielding criminal history category I for each of them.

      II.      A Four-Level Enhancement for Defendant Gonzalez’s                        Role     As   An
               Organizer/Leader of the Criminal Activity Is Warranted.
            The United States concurs with Probation’s recommendation to impose a four-level role

   enhancement for both Defendants (D.E. 234:PSR ¶ 68; D.E. 235:PSR ¶ 67). Counsel has indicated

   that Defendant Gonzalez does not intend to contest imposition of a four-level role enhancement

   despite the plea language. Accordingly, the Court should apply the four-level role enhancement.


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      III.      The United States’ Loss Estimate Is Reasonable And Appropriate.

             The Court should adopt Probation’s recommendation to enhance both Gonzalez and

   Alfaro’s sentences based upon a loss estimate of approximately $22,906,267.41. The table below

   summarizes the payments made by Medicare via electronic funds transfer (“EFT”) to the home

   health agencies secretly owned and operated by Defendants during the relevant time periods of

   their ownership. This is also the restitution amount the United States is seeking in this case, and

   defense counsel Marc Seitles, Esq., has represented that Defendants do not object to this amount.

                                     Nominee        First EFT      Last EFT        Total Paid via
        Name           Nominee
                                    Sunbiz Start       Date          Date              EFT
     FINETECH
       HOME             J.R.P.G.      2/11/2015      2/11/2015
      HEALTH                                                      12/15/2015       $2,492,730.28
      GOLDEN
                        Ramon
       HOME                           3/17/2014        4/3/2014
                        Collado
      HEALTH                                                       2/23/2016       $5,033,146.82
    HOMESTEAD
       HOME
                          E.R.        4/3/2013       8/12/2013
      HEALTH
       CARE                                                       10/29/2014       $5,085,799.25
     MA HOME
                          L.E.        3/17/2011      3/17/2011
      HEALTH                                                       6/11/2014       $7,024,268.74
      METRO              Juan
    DADE HOME           Castillo      3/5/2015       3/10/2015
      HEALTH            Mayedo                                    10/16/2015       $1,045,194.59
    NOVA HOME
      HEALTH              J.F.        5/13/2014      5/16/2014
       CARE                                                        1/13/2015        $2,225,127.73
                                                                                   $22,906,267.41




                                                   7
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      IV.      Gonzalez Should Be Sentenced to 135 Months Of Imprisonment, and Alfaro
               Should Be Sentenced to 151 Months of Imprisonment, Sentences At The Low End
               of Their Respective Applicable Advisory Guidelines Ranges.

            With a criminal history category of I, Gonzalez’s advisory guidelines range is 135 to 168

   months of imprisonment. The United States respectfully recommends that Gonzalez be sentenced

   to a term of imprisonment at the low end of that range.

            With a criminal history category of I, Alfaro’s advisory guidelines range is 151 to 188

   months of imprisonment. The United States respectfully recommends that Alfaro be sentenced to

   a term of imprisonment at the low end of that range.

            Defendants have accepted responsibility for their crimes and should be afforded the

   benefits of their plea bargains. These sentences will provide punishment that deters other actors

   in the community who may seek to engage in Medicare fraud, as well as punishment that is

   sufficient, but not greater than necessary. See 18 U.S.C. § 3553(a). Even if there is no risk that

   Alfaro or Gonzalez will reoffend, the Eleventh Circuit has explicitly emphasized the significance

   of “general deterrence . . . in white-collar cases, where the motivation is greed.” United States v.

   Hayes, 762 F.3d 1300, 1308-09 (11th Cir. 2014); see also, e.g., United States v. Kuhlman, 711

   F.3d 1321, 1328–29 (11th Cir. 2013) (vacating, as substantively unreasonable, sentence of time

   served, which represented a 57-month downward variance, for defendant responsible for $3

   million health care fraud scheme, noting that “[s]uch a sentence fails to achieve an important goal

   of sentencing in a white-collar crime prosecution: the need for general deterrence,” and that “[w]e

   are hard-pressed to see how a non-custodial sentence serves the goal of general deterrence.”), cert.

   denied, 134 S. Ct. 140, 187 L. Ed. 2d 38 (2013).




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          The scope and duration of the fraud is significant—it spanned several years and involved

   recruitment and exploitation of many co-conspirators. A Guidelines range sentence adequately

   reflects the seriousness of the scope and duration of the offense.

          Moreover, while Defendants are first-time health care fraud offenders, estimates suggest

   that more than seventy percent of fraud offenders, which includes the vast majority of white collar

   offenders, have little or no criminal history. See Selected Sentencing, Guideline Application, and

   Demographic Information for § 2B1.1 Offenders, Fiscal Year 2012, U.S. SENT’G COMM’N

   (Sept. 18, 2013), available at http://www.ussc.gov/Research_and_Statistics/Research_Projects/

   Economic_Crimes/20130918-19_Symposium/Selected_Sentencing_Guideline_Application_

   Demographic_Info.pdf. This suggests a particular need to deter those in the community who, like

   Defendants in this case, chose to commit fraud.




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                                           CONCLUSION

          For the reasons set forth above, the United States respectfully requests that the Court (1)

   sustain the government’s objections to the criminal history calculations based upon Defendants’

   convictions in case no. 16-CR-20507-MOORE (i.e., paragraph 75 of Alfaro’s PSI (D.E. 227) and

   paragraph 76 of Gonzalez’s PSI (D.E. 226)); (2) find that the applicable U.S.S.G. range of

   imprisonment is 135-168 months for Gonzalez, and 151-188 months for Alfaro; and (3) impose

   sentences upon Gonzalez and Alfaro at the low ends of their respective applicable U.S.S.G. ranges.

                                                Respectfully submitted,

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                                                U.S. DEPARTMENT OF JUSTICE

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                                    CERTIFICATE OF SERVICE

          I, Lisa H. Miller, hereby certify that on June 8, 2017, a copy of this pleading was caused to

   be served on all parties via the Court’s electronic filing system.

                                                 /s/ Lisa H. Miller
                                                 Assistant U.S. Attorney




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